              DISTRICT COURT OF APPEAL OF FLORIDA
                        SECOND DISTRICT

                     WAYNE ANTHONY CIMINO, SR.,

                                 Appellant,

                                      v.

                           STATE OF FLORIDA,

                                  Appellee.

                             No. 2D2023-0687


                              August 21, 2024

Appeal from the Circuit Court for Hillsborough County; Samantha L.
Ward, Judge.

Howard L. Dimmig, II, Public Defender, and A. Victoria Wiggins,
Assistant Public Defender, Bartow, for Appellant.

Ashley Moody, Attorney General, Tallahassee, and Nicole Rochelle Smith,
Assistant Attorney General, Tampa, for Appellee.


PER CURIAM.

      Affirmed.

KELLY, ROTHSTEIN-YOUAKIM, and LABRIT, JJ., Concur.


Opinion subject to revision prior to official publication.
